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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    www.flsb.uscourts.gov

In re: YASMANI F. AGUILAR                                                      Case No: 24-21304-SMG
FARIDETH A. MALDONADO,
          Debtors.                       /                                     Chapter 13

      OBJECTION TO CLAIM ON SHORTENED NOTICE AND REQUEST FOR SANCTIONS
       IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION TO YOUR CLAIM
This objection seeks either to disallow or reduce the amount or change the priority
status of the claim filed by you or on your behalf. Please read this objection carefully to
identify which claim is objected to and what disposition of your claim is recommended.
Upon the filing of this objection an expedited hearing on this objection will be scheduled
on the date already scheduled for the confirmation hearing in accordance with Local
Rule 3007-1(B)(2).
Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the Debtors object to the
following claim filed in this case and seek sanctions against the Claimant:
Claim                                                   Amount of         Basis for Objection and
No.   Name of Claimant                                  Claim             Recommended Disposition
 35     Cadles of West Virginia, LLC                    $60,074.60On December 13, 2024,
                                                                  Claimant prepared and
timely filed Claim #18, asserting a claim against claim Debtor 1, Yasmani Figueredo Aguilar.
In the very first section of the Proof of Claim form (Official Form 410), where Claimant was
instructed to “Fill in this information to identify the case:” Claimant filled in the names of
both Debtor 1, Yasmani Figueredo Aguilar, and Debtor 2, Farideth Maldonado. Accordingly,
Claimant had actual notice of Farideth Maldonado’s, filing of this Chapter 13 Bankruptcy as
of December 13, 2024, at the latest. Claimant then waited another 48 days to file late-filed
Claim #35 against Farideth Maldonado.

Before filing this Objection to Claim on Shortened Notice and Request for Sanctions, through a
series of no less than 14 emails from January 30 to February 13, 2025, undersigned counsel
brought to Claimant’s attention the fact that its Claim #35 was late-filed and could not be
allowed under the Bankruptcy Code, Rules, and attendant case law given Claimant’s obvious
actual knowledge of the filing of this bankruptcy by Farideth Maldonado in time to timely file
a claim. Undersigned counsel requested that Claimant withdraw Claim #35, and further
warned Claimant that its failure to withdraw Claim #35 would result in an objection to the
claim and a request for attorney’s fees as a sanction for causing Debtors to unnecessarily
incur reasonable attorney’s fees in the prosecution of the objection. Undersigned counsel
cited to Claimant relevant case law mandating the disallowance of late-filed claims in
Chapter 13, and advised that 11 USC 105(a) and the parties’ underlying contract support an

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award of a reasonable attorney’s fees to the Debtors for having to prosecute this objection
given the clarity of the law and an absence of any explanation why Claimant should be
excused for waiting 48 days to file Claim #35. Claimant did not withdraw Claim #35 by the
date requested, unjustifiably necessitating the filing of this objection; and Claimant likewise
has not filed any motion to allow late filed claim despite the Chapter 13 Trustee’s office
having put it on notice of the need to “file a motion you deem appropriate if you are unable
to resolve the matter with Debtor’s counsel.”

An excerpt from undersigned counsel’s February 3, 2025 email to Claimant stated:

   The case law is absolutely clear in the 11th Circuit. Untimely claims filed by creditors
   with actual knowledge of the bankruptcy in time to timely file claims are barred.

   See In re Tice, 2022 WL 532741, at *3 (Bkrtcy.M.D.Ala., 2022):

   "Lambert maintains it never received formal or electronic notice of Debtor's
   bankruptcy filing or the Bar Date from the Court due to the incorrect zip code and/or
   failure to list a specific attorney at the law firm's address. However, service need
   not be perfect in order to satisfy due process. Constitutional due process requires
   “notice reasonably calculated, under all circumstances, to apprise interested parties
   of the pendency of the action and afford them an opportunity to present their
   objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314, 70 S.Ct.
   652, 657, 94 L.Ed. 865 (1950). In the bankruptcy context, constitutional due process
   requires only actual knowledge of an individual debtor's bankruptcy case generally,
   not formal notice of the bar date itself. In re Alton, 837 F.2d 457, 460 (11th Cir. 1988)
   (“[M]ere knowledge of a pending bankruptcy proceeding is sufficient to bar the
   claim of a creditor who took no action, whether or not that creditor received official
   notice from the court of various pertinent dates.”); In re Ford Business Forms, Inc., 180
   B.R. 294, 295 (Bankr. S.D. Fla. 1994) (“11 U.S.C. § 523(a)(3)(B) requires a creditor in
   a case involving an individual debtor to file claim by the claims bar date if the
   creditor has actual knowledge of the case even if the creditor has not received formal
   notice of the claims bar date.”). Thus, mere knowledge of an individual chapter
   13 debtor's pending bankruptcy case is sufficient to put a creditor on notice to
   affirmatively protect its rights by informing itself of applicable deadlines."

   See also Ford Business Forms, Inc. v. Sure Card, Inc., 180 B.R. 294, 295–96
   (S.D.Fla.,1994)

   "Constitutional due process requires only “notice reasonably calculated, under all
   circumstances, to apprise interested parties of the pendency of the action and afford
   them an opportunity to present their objections.” Mullane v. Central Hanover Bank &
   Trust Co., 339 U.S. 306, 314, 70 S.Ct. 652, 657, 94 L.Ed. 865 (1950). In the bankruptcy
   context, the Eleventh Circuit has held that actual knowledge of the case is sufficient
   to satisfy constitutional due process requirements. In re Alton, 837 F.2d 457 (11th
   Cir.1988). In Alton, the Eleventh Circuit upheld as constitutional section 523(a)(3)(B)

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   of the Bankruptcy Code. 11 U.S.C. § 523(a)(3)(B) requires a creditor in a case
   involving an individual debtor to file a claim by the claims bar date if the creditor has
   actual knowledge of the case even if the creditor has not received formal notice of the
   claims bar date. Otherwise, the claim is discharged.

   It is significant that the Eleventh Circuit held in Alton that constitutional due process
   requires only notice or actual knowledge of the bankruptcy case generally; it does not
   require notice or actual knowledge of the particular bar date for filing claims. *296
   Alton, 837 F.2d at 461 (quoting Mullane, 339 U.S. at 314, 70 S.Ct. at 657); see also In re
   Sam, 894 F.2d 778, 781–82 (5th Cir.1990); United States v. Cardinal Mine Supply,
   Inc., 916 F.2d 1087, 1089 (6th Cir.1990); In re Coastal Alaska Lines, 920 F.2d 1428,
   1430 (9th Cir.1990); In re Ray Brooks Machinery Co., 113 B.R. 56, 63
   (Bankr.M.D.Ala.1989); In re Haendiges, 158 B.R. 871, 874 (Bankr.M.D.Fla.1993); 9
   Am.Jur.2d Bankruptcy § 676. Thus, Alton stands for the proposition that, in a case
   involving an individual debtor, mere knowledge of a pending bankruptcy proceeding
   is sufficient to bar the claim of a creditor who fails to file a claim before the bar date,
   whether or not that creditor received formal notice of the claims bar date."”

[End of email excerpt.]


WHEREFORE, for the foregoing reasons, Debtors respectfully pray that this Court enter an
order disallowing Claim #35, awarding undersigned counsel a reasonable attorney’s fee of
no less than $2,700 to compensate for the more than four hours of time expended and to be
expended in the opposition to Claimant’s late filed Claim #35, and for such other relief as this
Court may deem appropriate.

The undersigned acknowledges that this objection and the notice of hearing for this
objection will be served on the Claimant and the Debtor at least 14 days prior to the
confirmation hearing date and that a certificate of service conforming to Local Rule 2002-
1(F) must be filed with the court when the objection and notice of hearing are served.

DATED: 02/18/2025
                                                          Submitted By:
                                                          /s/ James Schwitalla
                                                          James Schwitalla, Esquire
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